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 9                         United States District Court
10                         Central District of California
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     INTERPRET, LLC, a California limited                Case No. 2:18-CV-03140-ODW(Ex)
12 liability company,
                                                         ORDER GRANTING MOTION TO
13                       Plaintiff,                      TRANSFER VENUE [9]
14          v.
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   RUSSELL CRUPNICK, an individual, and
16 DOES 1-20, inclusive,
17                  Defendant.
18                                      I.    INTRODUCTION
19          Interpret, LLC (“Plaintiff”), a California limited liability company, filed this
20   action against Russell Crupnick (“Defendant”), in Los Angeles Superior Court on
21   March 12, 2018. (Compl., ECF No. 1-1.) Defendant removed the case on March 13,
22   2018. (ECF No. 1.) Before the Court is Defendant’s Motion to Transfer Venue. (ECF
23   No. 9.) For the reasons discussed below, the Court GRANTS Defendant’s Motion.1
24                 II.    PROCEDURAL AND FACTUAL BACKGROUND
25          On December 1, 2017, Defendant commenced a lawsuit against Plaintiff in the
26   United States District Court for the Eastern District of New York (“First-Filed Action”).
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          After carefully considering the papers filed in connection with the instant Motion, the Court
28   deemed the matter appropriate for decision without oral argument. Fed. R. Civ. P. 78(b); C.D. Cal.
     L.R. 7-15.

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 1   (Decl. of Brent J. Lehman, Ex. 2, ECF No. 9.) In that case, Defendant alleges that
 2   Plaintiff violated the Fair Labor Standards Act and New York Labor Law by
 3   misclassifying Defendant as an independent contractor. (Id.) On March 7, 2018,
 4   Plaintiff filed an answer in the First-Filed Action. (Mot. 2–3, ECF No. 9.)
 5          Five days later, on March 12, 2018, Plaintiff filed the instant action against
 6   Defendant alleging the following claims: (1) intentional interference with contractual
 7   relations; (2) intentional interference with prospective economic relations; (3) negligent
 8   interference with prospective economic relations; (4) conversion; (5) unjust enrichment;
 9   (6) actual intent to defraud a creditor; (7) constructive fraudulent transfer; (8) violation
10   of Bus. & Prof. Code §17200 – Count 1; (9) intentional misrepresentation; (10)
11   negligent misrepresentation; and (11) violation of Bus. & Prof. Code §17200 – Count
12   2. (See generally Compl.)
13          On May 14, 2018, Defendant moved to transfer this action to the Eastern District
14   of New York under the first-to-file rule, or under 28 U.S.C. § 1404(a).2 (Mot., ECF No.
15   9.) Plaintiff opposed the Motion on May 25, 2018. (Opp’n, ECF No. 12.) That Motion
16   is now before the Court for decision.
17                                   III.    LEGAL STANDARD
18          Under the first-to-file rule, or comity doctrine, a district court may decline to
19   exercise jurisdiction over an action when a complaint involving the same parties and
20   issues has been filed in another district. Pacesetter Sys., Inc. v. Medtronic Inc., 678
21   F.2d 93, 94–95 (9th Cir. 1982). This doctrine seeks to conserve limited judicial
22   resources and avoid duplicate or inconsistent judgments on similar issues. Id. at 95.
23          In considering whether to apply this doctrine, the Court must consider: (1) the
24   chronology of the two actions; (2) the similarity of the parties; and (3) the similarity of
25   the issues. See Kohn Law Grp., Inc. v. Auto Parts Mfg. Miss., Inc., 787 F.3d 1237, 1240
26   (9th Cir. 2015). When analyzing a motion to transfer under the first-to-file rule, a
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28        Because the Court is granting Defendant’s Motion under the first-to-file, the Court declines to
     address the merits of Defendant’s § 1404(a) argument.


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 1   district court generally should not weigh the usual transfer factors under 28 U.S.C.
 2   1404(a), as those are reserved for consideration by the Court with the first-filed action.
 3   Pacesetter, 678 F.2d at 96–97. If a later-filed action meets the first-to-file requirements,
 4   the second court may transfer, stay, or dismiss the case. Alltrade, Inc. v. Uniweld
 5   Prods., Inc., 946 F.2d 622, 623 (9th Cir. 1991).
 6                                     IV.    DISCUSSION
 7         Defendant asserts that this action satisfies all three factors required for the first-
 8   to-file rule to apply, and therefore should be transferred to the Eastern District of New
 9   York. The Court agrees.
10         A. Chronology of the Actions
11         The first factor that must be satisfied is the chronology of the two actions. Id. at
12   625. Plaintiff contends that the first filed action was the arbitration claim it filed on
13   November 10, 2017. (Opp’n at 9.) However, as Defendant correctly points out, the
14   first-to-file rule applies only to complaints filed in federal court. (Reply 4, ECF No. 13.
15   (citing Alltrade, Inc., 678 F.2d at 623 and Taylor v. AlliedBarton Sec. Servs. LP, No.
16   1:13-CV-01613-AWI, 2014 WL 1329415, at *8 (E.D. Cal. Apr. 1, 2014).) Defendant
17   filed his suit on December 1, 2017 in the Eastern District of New York. Plaintiff filed
18   its suit on March 12, 2018. Therefore, Defendant’s suit was the first-filed action.
19         B. Similarity of Parties
20         The second factor that must be satisfied is the similarity of parties. Alltrade, Inc.,
21   946 F.2d at 625. The first-to-file rule only requires there be substantial similarity, thus
22   the exact identity of the parties is not necessary. Kohn Law Grp., 787 F.3d at 1240.
23         Though Plaintiff does not dispute this factor, it is met because the only difference
24   between the named parties in both disputes is the inclusion of Plaintiff’s principals,
25   Andrew Wing, Michael Cai, and Grant Johnson, as defendants in the First-Filed Action.
26   See Intersearch Worldwide, Ltd. v. Intersearch Grp., Inc., 544 F. Supp. 2d 949, 959
27   (N.D. Cal. 2008) (“The rule is satisfied if some [of] the parties in one matter are also in
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 1   the other matter, regardless of whether there are additional unmatched parties in one or
 2   both matters.”).
 3          C. Similarity of Issues
 4          The last factor that must be satisfied is similarity of issues. Alltrade, Inc., 946
 5   F.2d at 625. Plaintiff contends that this factor is not met because of a lack of similarity
 6   of the issues in the two cases. (Opp’n 10–12.) Plaintiff’s case focuses on the alleged
 7   tortious actions of the Defendant in regard to a contractual agreement (“Agreement”)3.
 8   (See generally Compl.) Defendant denies the allegations in the Complaint and raises
 9   multiple affirmative defenses in regard to the Agreement. (Answer, ECF No. 7.) The
10   First-Filed Action focuses on the alleged violations under the Fair Labor Standards Act
11   and New York Labor Law, specifically focusing on the misclassification of Defendant
12   as an independent contractor on the Agreement. Defendant correctly points out that
13   though the issues are not identical, the Court’s determinations in both cases will overlap.
14   (Reply 6 (citing Le Brocq v. Lane, 2017 U.S. Dist. LEXIS 52810, *8–9 (N.D. Tex. Apr.
15   6, 2017) (“While [plaintiff] argues the temporal separation of events indicates the
16   overlap may be less than absolute, the determinations in both cases indicates overlap
17   may be substantial.”).) The foundation of Plaintiff’s case and Defendant’s case both
18   arise out of the Agreement. In both cases, the Court will be called upon to determine
19   the intent of the parties at the time they entered the Agreement, as well as the
20   classification of the Defendant in relation to the Agreement, specifically, whether
21   Defendant was an independent contractor or an employee. Managing these cases in the
22   same district would be in the best interest of justice for efficiency purposes, as the
23   discovery in both claims would substantially overlap. (Reply 6 (citing Calderon v.
24   Cargill, Inc., No. CV137046GHKJEMX, 2013 WL 12205633, at *2 (C.D. Cal. Dec.
25   10, 2013) (“Significant judicial resources will be conserved by having discovery
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28       Interpret entered into an Agreement with Music Watch, Inc., which is owned and operated by
     Defendant. (Compl. ¶1.)


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 1   managed in one district.”).) Therefore, the First-Filed Action and this action have a
 2   substantial overlap in the claims asserted.
 3          Furthermore, denying motion to transfer may lead to inconsistent results on these
 4   determinations. “The purpose of this well-established rule is to promote efficiency and
 5   to avoid duplicative litigation and thus it should not be lightly disregarded.”
 6   Inherent.com v. Martindale-Hubbell, 420 F. Supp. 2d 1093, 1097 (N.D. Cal. 2006)
 7   (citing Alltrade, Inc., 946 F.2d at 625).
 8          D. Exceptions to the First-to-File Rule
 9          “The circumstances under which an exception to the first-to-file rule typically
10   will be made include bad faith, . . . anticipatory suit, and forum shopping.” Alltrade,
11   Inc., 946 F.2d at 628 (citing Crosley Corp. v. Westinghouse Elec. & Mfg. Co., 130 F.2d
12   474, 476 (3d Cir. 1942) and Mission Ins. Co. v. Puritan Fashions Corp., 706 F.2d 599,
13   602 n.3 (5th Cir. 1983)).
14          Plaintiff contends that Defendant “acted in bad faith by preventing the efficient
15   resolution of [Plaintiff’s] overlapping claims against Music Watch, Inc. and
16   [Defendant] in a single proceeding,” when he did not participate in arbitration. (Opp’n
17   12.) Refusing to participate in an arbitration to which you did not consent is not bad
18   faith.4 Plaintiff also alleges that Defendant is engaging in forum shopping by denying
19   Plaintiff’s choice of forum. (Id.) Plaintiff provides no support for this claim, other than
20   Defendant’s alleged refusal to arbitrate, and the Court dismisses it as conclusory. (Id.)
21          Because all three factors have been satisfied, and there are no applicable
22   exceptions, the Court finds it appropriate to apply the first-to-file rule and transfer this
23   case to the Eastern District of New York.
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         The Court notes that this is not a Motion to Compel Arbitration so it forms no opinion as to
28   whether Defendant could have been compelled to participate in the arbitration. The Court finds
     Defendant’s reason for refusing to participate in the arbitration as relevant in its bad-faith analysis.


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 1                                    V.   CONCLUSION
 2         For the reasons discussed above, the Court GRANTS Defendant’s Motion to
 3   Transfer to United States District Court for the Eastern District of New York. (ECF
 4   No. 9.) The Clerk of the Court shall transfer and close the case.
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 6         IT IS SO ORDERED.
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 8         June 25, 2018
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10                                ____________________________________
11                                         OTIS D. WRIGHT, II
                                   UNITED STATES DISTRICT JUDGE
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